Case 3:16-md-02738-MAS-RLS         Document 31902      Filed 04/17/24    Page 1 of 3 PageID:
                                        180817



                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY


    IN RE: JOHNSON & JOHNSON
    TALCUM POWDER PRODUCTS
    MARKETING, SALES
    PRACTICES, AND PRODUCTS
    LIABILITY LITIGATION                            3:16-md-02738 (MAS) (RLS)

    This document relates to:
               Yolanda Manalo
    Plaintiff ____________
                   3:24-cv-5154
    Case number _____________




                                   NOTICE OF FILING

            Notice is hereby given pursuant to Case Management Order No. 3 (Filing of

     Short Form Complaints) that the Short Form Complaint with Jury Demand was filed on
     04/17/2024                                Yolanda Manalo
     _________________ on behalf of Plaintiff ____________________.

              04/17/2024
      Dated: _________________



                                      Respectfully submitted,

                                      /s/ Matthew R. Stubbs


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                               AND

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                                     180819



                              CERTIFICATE OF SERVICE
                                    04/17/2024 a copy of the foregoing NOTICE
           I hereby certify that on _________,

     OF FILING was filed electronically. Notice of this filing will be sent by

     operation of the Court’s electronic filing system to all parties indicated on

     the electronic filing receipt. Parties may access this filing through the

     Court’s system.
                               /s/ Matthew R. Stubbs


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